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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


BMG RIGHTS MANAGEMENT                        )
(US) LLC, and ROUND HILL                     )
MUSIC LP                                     )
                                             )
               Plaintiffs,                   )
                                             )
       v.                                    )       Case No. 1:14-cv-1611(LOG/JFA)
                                             )
COX ENTERPRISES, INC.,                       )
COX COMMUNICATIONS, INC.,                    )
COXCOM, LLC                                  )
         Defendants.                         )
                                             )


 BMG RIGHTS MANAGEMENT (US) LLC AND ROUND HILL MUSIC LP’S MOTION
       TO FILE ELECTRONIC COPIES OF THEIR EXHIBITS TO THEIR
               MOTION FOR SUMMARY JUDGMENT ON CD

       Plaintiffs BMG Rights Management (US) LLC and Round Hill Music LP (collectively

“Copyright Holders”) respectfully move this Court for an order to permit them to file the exhibits

to their summary judgment motion on CD, rather than through the Court’s Electronic Court

Filing system (the “ECF”).1 In support, the Copyright Holders state as follows:

       1)      The Copyright Holders have asserted claims against Defendants for vicarious and

contributory copyright infringement, involving over 1,400 copyrights.

       2)      The Copyright Holders intend to file a motion for summary judgment on

September 21, 2015, that involves the majority of the copyrights at issue in the case.




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 The Copyright Holders asked Cox its position on their motion, but did not receive a response
by the time of filing.
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       3)      As exhibits to their summary judgment motion, the Copyright Holders intend to

include approximately 1,000 certified copyright registrations, in addition to approximately 200

other documents.

       4)      Because of the number of exhibits, it is more practical to file the exhibits with the

Court on CD, rather than through the ECF.

       For the reasons stated above, the Copyright Holders ask this Court for an order permitting

them to file the exhibits to their summary judgment motion on CD. A proposed order is

attached.


September 17, 2015
                                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 17, 2015, I electronically filed a true and correct copy
of the foregoing using the Court’s CM/ECF system, which then sent a notification of such filing
(NEF) to all counsel of record:

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